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                         UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF LOUISIANA

IN RE: KOZAR, BRIAN E.                                             CASE NO. 16-10158
       KOZAR, JENNIFER LYNN
       DEBTORS                                                     CHAPTER 7


                                            ORDER

       CONSIDERING the Motion for Authority to Sell Immovable Property of the Estate Free

and Clear of Liens [P-131], the lack of opposition thereto, and for reasons rendered orally at the

July 25, 2018 hearing,

       IT IS ORDERED that Dwayne M. Murray, the duly appointed trustee, is authorized

empowered and directed to sell by private sale, as is, without any warranty or recourse

whatsoever on the part of the trustee, even as to the return of the purchase price to Keith and

Marlice Sanders for the price of SIX HUNDRED SEVENTY FIVE THOUSAND $675,000.00

dollars cash, the property described below and all of the estate=s interest in same located 2474 N

TURNBERRY AVE ZACHARY, LA 70791 ("Property@) and described as:

        THAT CERTAIN LOT OR PARCEL OF GROUND, TOGETHER WITH ALL
        BUILDINGS AND IMPROVEMENTS THEREON, LOCATED IN THE CITY
        OF ZACHARY, PARISH OF EAST BATON ROUGE, STATE OF
        LOUISIANA, AND BEING MORE PARTICULARLY DESCRIBED AS LOT
        EIGHT (8) OF COPPER MILL GOLF COMMUNITY, FIRST FILING AS PER
        THE OFFICIAL MAP OF SAID SUBDIVISION ENTITLED "FINAL PLAT
        OF COPPER MILL GOLF COMMUNITY (FIRST FILING) BEING THE
        RESUBDIVISION OF TRACT C-2-B-2-A-1, FORMERLY A PORTION OF
        THE MARSHALL M. HUGHES AND MRS. M. G. HUGHES PROPERTY
        LOCATED IN SECTIONS 46, 56, 58 AND 73, T-5-S, R-1-W, GREENSBURG
        LAND DISTRICT, EAST BATON ROUGE PARISH, LOUISIANA FOR
        COPPER MILL RESIDENTIAL, L.L.C.". SAID OFFICIAL MAP IS DATED
        THE 11TH DAY OF JUNE, 2002 AND SIGNED BY JOSEPH GARRETT,
        PROFESSIONAL LAND SURVEYOR ON THE 4TH DAY OF SEPTEMBER,
        2002. SAID OFFICIAL MAP BEING RECORDED AS ORIGINAL 30 OF
        BUNDLE 11394 OF THE OFFICIAL RECORDS OF EAST BATON ROUGE
        PARISH, STATE OF LOUISIANA.




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        SAID LOT 8 HAVING THE DIMENSIONS AND BEING SUBJECT TO THE
        SERVITUDES AND DEDICATIONS AS SET FORTH ON THE OFFICIAL
        MAP. Parcel ID: P743658.

        Municipal address: 2474 N TURNBERRY AVE ZACHARY, LA 70791.

       IT IS FURTHER ORDERED that this sale is free and clear of all liens, mortgages,

claims, judgments and or encumbrances with same attaching to the sales proceeds.

       IT IS FURTHER ORDERED that the Trustee is authorized to pay the liens of Ditech

Financial, LLC, at closing and the estate’s portion of the 2017 property taxes with all remaining

liens, mortgages, claims, judgments and or encumbrances attaching to the sale proceeds. Trustee

shall deposit sale proceeds of the sale into the estate account pending resolution of any lien

ranking adversary, lien avoidance adversary or otherwise resolved by compromise.

       IT IS FURTHER ORDERED that Clerk of Court for the Parish of East Baton Rouge,

where liens, mortgages, claim and or encumbrances are recorded, is hereby directed to cancel the

inscriptions, including but not limited to:

       Liens of record known at this time include:

   1) Ditech Financial Mortgage, dated June 5, 2007 and recorded June 6, 2007 in ORIG 983,
      BNDL 11956, in the amount of $1,174,000.00 by and between Brian E. Kozar and
      Jennifer Forest Kozar, husband and wife and Mortgage Electronic Registration Systems,
      Inc., as nominee for Countrywide Home Loan, Inc., dba America's Wholesale Lender, as
      assigned to The Bank of New York Mellon, FKA, The Bank of New York, as Trustee for
      the Certificate holders of CWMBS, Inc., CHL Mortgage Pass-Through Trust 2007-13,
      Mortgage Pass-Through Certificates, Series 2007-13;

   2) Bank of Zachary Collateral Mortgage, dated June 5, 2007 and recorded June 6, 2007 in
      ORIG 439, BNDL 11957 in the amount of $150,000.00 by and between Brian E. Kozar
      and Jennifer Forest Kozar, husband and wife and Bank of Zachary.;

   3) The Highlands Bank Collateral Mortgage, dated October 25, 2007 and recorded October
      26, 2007 in ORIG 269 BNDL 12006 in the amount of $175,000.00 by and between Brian
      E. Kozar and Jennifer Forest Kozar, husband and wife and The Highlands Bank.

   4) Homeowners Association Privilege and Lien as recorded 6/30/2017 in ORIG 456, BNDL
      12823 in the amount of $3734.10 by Copper Mill Homeowners Association, Inc.



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       IT IS FURTHER ORDERED that the trustee is authorized to disburse at closing the real

estate agent’s commission of six percent (6%) to be shared by Danielle McKinley of Keller

Williams-Zachary, Jeremy Henderson of Keller Williams First Choice and Stephanie Givens of

BK Global Real Estate Services, LLC, at two percent each.

       IT IS FURTHER ORDERED that the trustee has authority to execute all documents and

pay all reasonable expenses necessary for administration of this property (i.e., of utility for home

inspection etc.)

       Baton Rouge, Louisiana, July 26, 2018.

                                    s/ Douglas D. Dodd
                                   DOUGLAS D. DODD
                           UNITED STATES BANKRUPTCY JUDGE




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